                    UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                         NASHVILLE DIVISION

 UNITED STATES OF AMERICA                   )
                                            )
       v.                                   )   No. 3:24-cr-00189
                                            )
 DAVID AARON BLOYED                         )   JUDGE CRENSHAW




   UNOPPOSED MOTION TO CONTINUE TRIAL AND RELATED
                     DEADLINES


      David Aaron Bloyed, respectfully moves, pursuant to 18 U.S.C.

§ 3161(h)(7) to continue the December 17, 2024, trial and all related deadlines,

including the motion filing deadlines, to a time to be agreed upon at the December 2,

2024, status conference. In further support of this motion, counsel would show the

following:

      1.     Counsel has consulted with Assistant United States Attorney Joshua

Kurtzman, and the Government does not oppose this request.

      2.     Defense counsel needs additional time to review discovery, draft and file

pretrial motions and prepare for trial.

      3.     A speedy trial waiver, executed by Mr. Bloyed, will be filed

contemporaneously with this motion.

      Thus, for this good cause, in the interests of justice, Mr. Bloyed respectfully

asks that his trial, all related deadlines, including the motion filing deadline.

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                                        Respectfully submitted,

                                        /s/ Will Allensworth
                                        WILL ALLENSWORTH (BPR# 030735)
                                        Assistant Federal Public Defender
                                        Office of the Federal Public Defender
                                        810 Broadway, Suite 200
                                        Nashville, TN 37203
                                        615-736-5047
                                        Will_Allensworth@fd.org

                                        Attorney for David Aaron Bloyed


                          CERTIFICATE OF SERVICE

       I hereby certify that on November 26, 2024, I electronically filed the foregoing
Unopposed Motion to Continue Trial and Related Deadlines with the clerk of the
court by using the CM/ECF system, which will send a notice of Electronic Filing to:
Joshua A. Kurtzman and Nani Gilkerson, Assistant United States Attorneys, 719
Church Street, Suite 3300, Nashville, Tennessee 37203.

                                        /s/ Will Allensworth
                                        WILL ALLENSWORTH




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